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                       IN THE I'NITED STATESDISTRICT COT,RTFORIilfiEI]IlIRIC:
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                               sourHERN DrsrRrcr oF GEoRcrA
                                                      DUBLIN DIVISION
                                                                                                           201\
UNITED STATES OE AMER]CA
                                                                                                       il-f,R
             vs.                                                         cR 310-014

RODERICKPATTERSON



                                                            ORDER


             Defendant has fi-fed a motion for                              reductlon             of sentence under

18 U.S.C.               S 3582(c) (2)                 on the     basis      that     Amendment 782 to                              the

UnjIed               SLaLes Sentencing                  Gujdelines         has revised                    Lhe guidelines

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                ru      rL nv    drfn
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?82 became effecrive                                on November 1f          20L4, no delendant                              may be

refeased               on       the        basis       of    the        retroactive              amendment before

November 1,, 2015.                         See U.S.S.G. Amend. ?88.                     Thus, the Court will

underrake a review of cases invoJving                                         drug trafficking                            offenses

in due course.                        If   Defendant is            entitled     to a sentence reduction

as       a      result           of        amendments to            the     United            States                    Sentencing

Guidelines,                     Lhe Court            wiI.L make such a reduction                                   sua sponte.

Accordingly,                    Defendant's            motion       (doc. no. 363) is                        DEEERRED.l

             ORDER ENTERED at                         Augusta/           Georgia,          this
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                                                                                                                  t(                of

November, 201"4.




                                                                         UNITED STATE                     DISTRICT JUDG



           t     The Clerk             is directed                 to    terminate            the          motion            for
a c l m 'r i s f r a r i v e n r r r o o s e s .
